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                                           1   LARSON & ZIRZOW, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           2   Nevada Bar No. 7787
                                               E-mail: zlarson@lzlawnv.com
                                           3
                                               MATTHEW C. ZIRZOW, ESQ.
                                           4   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzlawnv.com
                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6   Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169
                                               Attorneys for Debtor
                                           8
                                                                           UNITED STATES BANKRUPTCY COURT
                                           9                                      DISTRICT OF NEVADA
                                          10   In re:                                                         Case No. 21-14486-abl
                                          11                                                                  Chapter 7
                                               INFINITY CAPITAL MANAGEMENT, INC.,
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                                         Debtor.
                                          13
       LARSON & ZIRZOW, LLC

        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14                    SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE
                                          15            1.     On the 14th day of October, 2021, I served the following document:
                                          16                   a.        Notice of Chapter 11 Case                                           ECF No. 2

                                          17
                                                        2.     I served the above-named document by the following means to the persons as
                                          18
                                               listed below:
                                          19
                                                               a.       ECF System:
                                          20
                                                               b.       United States mail, postage fully prepaid:
                                          21

                                          22                            To the parties on the attached mailing matrix.

                                          23                   c.       Personal Service:

                                          24                   I personally delivered the document(s) to the persons at these addresses:
                                          25
                                                                         For a party represented by an attorney, delivery was made by handing the document(s) at
                                                               the attorney’s office with a clerk or other person in charge, or if no one is in charge by leaving the
                                          26                   document(s) in a conspicuous place in the office.
                                          27
                                                                        For a party, delivery was made by handling the document(s) to the party or by leaving the
                                                               document(s) at the person’s dwelling house or usual place of abode with someone of suitable age
                                          28
                                                               and discretion residing there.
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                                           1
                                                           d.       By direct email (as opposed to through the ECF System):
                                           2
                                           2
                                                           Based upon the written agreement of the parties to accept service by email or a court order, I
                                           3               caused the document(s) to be sent to the persons at the email addresses listed below. I did not
                                           3
                                                           receive, within a reasonable time after the transmission, any electronic message or other indication
                                           4               that the transmission was unsuccessful.
                                           4
                                           5               e.       By fax transmission:
                                           5
                                           6               Based upon the written agreement of the parties to accept service by fax transmission or a court
                                           6
                                                           order, I faxed the document(s) to the persons at the fax numbers listed below. No error was
                                           7               reported by the fax machine that I used. A copy of the record of the fax transmission is attached.
                                           7
                                           8               f.       By messenger:
                                           8
                                           9               I served the document(s) by placing them in an envelope or package addressed to the persons at
                                           9
                                                           the addresses listed below and providing them to a messenger for service. (A declaration by the
                                          10               messenger must be attached to this Certificate of Service)
                                          10
                                          11    I declare under penalty of perjury that the foregoing is true and correct.
                                          11
                                          12
                                          12    Dated this 14th day of October, 2021.
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          13
                                          13     Trish Huelsman                                         /s/ Trish Huelsman
       LARSON & ZIRZOW, LLC

        Las Vegas, Nevada 89101




                                          14    (Name of Declarant)                                     (Signature of Declarant)
          850 E. Bonneville Ave.




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                                       Infinity Capital Management, Inc.
                                           Creditors Added 10/14/2021


                                                                                  Alliance Spinal Therapy &
Alcovy Neurology, P.C.                    Alliance Healthcare Services
                                                                                  Rehabilitation Group
Attn: Juan C. Lacayo MD                   Attn: Managing Member
                                                                                  Attn: Managing Member
3535 Highway 81                           1019 East 22nd Ave.
                                                                                  7455 West Washington Ave Suite 140
Loganville, GA 30052                      Cordele, GA 31015
                                                                                  Las Vegas, NV 89128


American Health Imaging                   AmerisourceBergen Specialty Group       AmPro Orthotics & Prothetics Inc.
Attn: Dan Balentine                       Attn: Stefani D. Forsythe               Attn: Luis E. Choto
6590 Powers Ferry Road                    3101 Gaylord Parkway                    6877 S Eastern Ave
Atlanta, GA 30339                         Frisco, TX 75034                        Las Vegas, NV 89119



Anesthesiology Consultants Inc.           Anthony M. Odell DC                     Associated Oral Specialties Inc.
Attn: Bradford Isaacs MD                  Attn: Anthony M. Odell DC               Attn: Dr. Freddie J. Wakefield Jr.
7220 South Cimarron Rd Suite 230          3227 Perkiomen Ave                      5671 Peachtree Dunwoody Rd. Suite 420
Las Vegas, NV 89113                       Reading, PA 19606                       Atlanta, GA 30342



Associated Pathologists Laboratories      Athens Orthopedics Clinic               Atlanta Spine Institute
Attn: Rick Reber                          Attn: Kayo Elliot                       Attn: Dr. Plas T. James
2075 E. Flamingo Rd.                      1765 Old West Broad St. Bldg. 2 # 200   5667 Peachtree Dunwoody Rd. # 220
Las Vegas, NV 89119                       Athens, GA 30606                        Atlanta, GA 30342



Atlas Orthopaedics                        Bethea Consulting & Psychological       Borg Law Group
Attn: Dr. Duncan Wells                    Services PC                             Attn: Brooke M. Borg Esq.
970 Woodstock Pkwy Ste 310                Attn: Angela R. Bethea Ph.D             9555 Hillwood Dr. Suite 150
Woodstock, GA 30188                       5 Concourse Parkway NE Suite 3000       Las Vegas, NV 89134
                                          Atlanta, GA 30328


Carbajal & McNutt LLP                     Care4Life Home Health Agency            Carl N. Williams MD
Attn: Dan McNutt                          Attn: Mary Levy                         Attn: Carl N. Williams MD
625 S. Eight Street                       8665 W. Flamingo Rd.                    2020 Wellness Way 501
Las Vegas, NV 89104                       Las Vegas, NV 89147                     Las Vegas, NV 89106



Carrollton Orthopedic Clinic              Center for Spine & Pain Medicine        Center of Special Procedures at Summerlin
Attn: J. Ben Butler                       Attn: Suleman Sohani                    Attn: William S. Muir MD
150 Clinic Ave Ste 101                    1413 Chattanooga Ave                    653 N Town Center Dr
Carrollton, GA 30117                      Dalton, GA 30720                        Las Vegas , NV 89144



Cherokee Imaging Center                   Childrens Orthopaedics of Atlanta       Chimedical Management Group
Attn: Jonna Roopas                        Attn: Mark Klein                        Attn: Dr. Stephen Cooper
2000 Village Professional Dr              1200 Lake Hearn Drive Suite 400         P.O Box 1611
Canton, GA 30114                          Atlanta, GA 30319                       Phenix City, AL 36868



Clear Lake Imaging LLC                    ColdCo Therapies LLC                    Comprehensive Spine & Pain
Attn: Managing Member                     Attn: AdamáLurie                        Attn: Dr. V.K. Puppala
202 N Texas Ave                           1362 Rietveld Row                       403 Permian Way Suite D
Webster, TX 77598                         Nw Atlanta, GA 30318                    Villa Rica, GA 30180
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Concordia Anesthesialogy Inc.            Coosa Diagnostic Center                  Cornerstone Orthopedics &
Attn: Stephan Gosch                      Attn: Eddie Rivers                       Sports Medicine
120 Ottly Dr. NE Suite C                 16 Riverbend Dr SW                       Attn: Rhett K. Rainey
Atlanta, GA 30324                        Rome, GA 30161                           299 N Broad St
                                                                                  Winder, GA 30680


Coronado Surgery Center                  Craniospinal Institute of Georgia        Creative Funding Services Inc.
Attn: Dr. Mike Crovetti                  Attn: Dr. Daniel W. Moore                Attn: Brett Hansbery
2779 W Horizon Ridge Pkwy Ste 140        790 Church St NE                         1135 Bay Street Suite 10
Henderson, NV 89052                      Marietta, GA 30060                       San Francisco, CA 94123


Damien A. Doute MD                       Daniel Eisenman MD
                                                                                  David S. Owens MD
Attn: Damien A. Doute MD                 Attn: Daniel Eisenman MD
                                                                                  4545 Harris Trail
1462 Montreal Rd                         3050 Royal Blvd. Suite 100
                                                                                  Atlanta, GA 30327
Tucker, GA 30084                         Alpharetta, GA 30022




Douglas W. Kindall MD                    Dr. Abbas Haider DDS                     Dr. Asaf Yalif
Attn: Douglas W. Kindall MD              Attn: Dr. Abbas Haider DDS               Attn: Dr. Asaf Yalif
3939 J St                                3521 Memorial Dr Ste A                   145 Towne Lake Pkwy Ste 101
Sacramento, CA 95819                     Decatur, GA 30032                        Woodstock, GA 30188



Dr. Bobby Khan                           Dr. Gary Ganahl                          Dr. Jason Reingold
Attn: Dr. Bobby Khan                     Attn: Dr. Gary Ganahl                    Attn: Dr. Jason Reingold
5673 Peachtree Dunwoody Rd Ste 440       1770 Century Blvd NE                     5669 Peachtree Dunwoody Rd
Atlanta, GA 30342                        Atlanta, GA 30345                        Atlanta, GA 30342



Dr. Hetesh Ranchod                       Dr. Tapan Daftari                        Durango Outpatient Surgery Center
Attn: Dr. Hetesh Ranchod                 Attn: Dr. Tapan Daftari                  Attn: Matt Pate
2769 Chastain Meadows Parkway Suite 70   270 Chastain Rd                          8530 W Sunset Rd
Marietta, GA 30066                       Kennesaw, GA 30144                       Las Vegas, NV 89113


Elite First Assisting                    Elite Radiology of Georgia LLC           Elizabeth Caughey, DDS
Attn: Tyrone W. Rogers                   Attn: Kevin Johnson                      Attn: Elizabeth Caughey, DDS
1235Magnolia Park Circle                 4800 Ashford Dunwoody Rd Ste 140         25-A Lenox Pointe NE
Cumming, GA 30040                        Atlanta, GA 30338                        Atlanta, GA 30324



Erik T. Bendiks MD                       Evans Procedure Center                   ExpressCHEX LLC
Attn: Kelly Millard                      Attn: Hemant Yagnick MD                  Attn: Nicholas Athanasatos
11650 Alpharetta Hwy Ste 100             404 Town Park Blvd Suite 101             2035 Sunset Lake Rd. Suite B-2
Roswell, GA 30076                        Evans, GA 30809                          Newark, DE 19702



First Coast Health Solutions             FirstScanTM Omaha                        Flamingo Surgery Center
Attn: Aron Stefanides                    Attn: Daniel Cinotto                     Attn: Nick Paciello
211 N Liberty St                         9840 S 140th St Ste 5                    2565 E Flamingo Rd
Jacksonville, FL 32202                   Omaha, NE 68138                          Las Vegas, NV 89121



Georgia Health Imaging                   Georgia Neurological Surgery &           Georgia Neuroscience
Attn: Maria Budhwani                     Comprehensive Spine                      Attn: Alex Bannister
4025 Lawrenceville Hwy NW                Attn: Brandt Halbach                     335 Roselane St NW #202
Lilburn, Georgia, 30047                  2142 W Broad St Bldg 100 Suite 200       Marietta, GA 30060
                                         Athens, GA 30606
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Georgia Pain & Spine Care                 Georgia Pain & Wellness Center            Georgia Pain and Spine Solutions
Attn: Jay Rice                            Attn: Amit Patel                          Attn: Marcus Polk
1665 Georgia Hwy 34 East #100             455 Phillip Blvd Building 100 Suite 140   76 Highland Pavilion Ct #133
Newnan, GA 30265                          Lawrenceville, GA 30046                   Hiram, GA 30141



                                                                                    Glendale MRI Institute
                                          Georgia Spine & Orthopedics
Georgia Pain Samson                                                                 Attn: James Lilley
                                          Attn: Winston Jeshuran
120 Stonebridge Pkwy Ste 420                                                        624 S Central Ave #2009
                                          6501 Peake Rd. Suite 400
Woodstock, GA 30189                                                                 Glendale, CA 91204
                                          Macon, GA 31210


Griffin Imaging LLC                       Gwinnett Hospital System Inc.             Healing Hands Physical Therapy Centers
Attn: Paul Cote                           Attn: Cathy H.Daugherty                   Attn: Patricia Burnley
220 Rock St                               1000 Medical Center Blvd                  1930 A Highland Ave
Griffin, GA 30224                         Lawrenceville, GA 30046                   Augusta, GA 30904


                                                                                    HealthSouth Rehabilitation Hospital of Las
Health n Home                             HealthPlus Imaging
                                                                                    Vegas
Attn: Paul G. Rowan                       Attn: Stephanie Lam
                                                                                    Attn: Mark Tarr
P.O. Box 20 Attn Corp Tax 70428           9000 Southwest Fwy
                                                                                    1250 South Valley View Blvd
Boise, ID 83726                           Houston, TX 77074
                                                                                    Las Vegas, NV 89102


Henderson Radiology Inc.                  Hieu Ball MD                              Hilltop Radiology LLC
Attn: Jade Alfasi                         Attn: Hieu Ball MD                        Attn: Joel Choe
10561 Jeffreys St Ste 111                 100 Park Pl                               2970 Hilltop Mall Rd
Las Vegas, NV 89052                       San Ramon, CA 94583                       Richmond, CA 94806



Howard Golden                             Imagelink LLC                             James Scheller MD
Attn: Howard Golden                       Attn: Kurt Taylor                         Attn: James Scheller MD
1140 Hammond Dr                           1350 Scenic Hwy N. Suite 268              2288 Auburn Blvd Ste 201
Atlanta, GA 30328                         Snellville, GA 30078                      Sacramento, CA 95821



                                          Jeffrey Goldberg MD                       Joint Active Systems Inc.
                                          Attn: Jeffrey Goldberg MD                 Attn: Boris Bonutti
                                          210 E Derenne Ave                         2600 S Raney St
                                          Savannah, GA 31405                         Effingham, IL 62401



Jordanica Inc.                            Katia Cabayan                             Las Vegas Pharmacy Inc.
Attn: Mark A. Premselaar                  Attn: Katia Cabayan                       Attn: Douglas L. Copsey
780 Coronodo Cneter Dr. Suite 110A        2970 Hilltop Mall Rd                      2600 W Sahara Ave Ste 120
Henderson, NV 89052                       Richmond, CA 94806                        Las Vegas, NV 89102



Las Vegas Sleep Center PLLC               Ledesma Sports Medicine                   Legacy Brain & Spine
Attn: Mohamed Shimaya                     Attn: Ernest Ledesma                      Attn: Dr. Said Elshihabi, Md
2400 S Cimarron Rd                        7010 Hodgson Memorial Dr                  718 Cherokee St NE
Las Vegas, NV 89117                       Savannah, GA 31406                        Marietta, GA 30060



Macon Pain Center PC                      Mariposa Medical Associates               Mark W. Howard MD
Attn: Carlos J. Giron                     Attn: Faye Vargas Morris MD               Attn: Mark W. Howard MD
3356 Vineville Ave.                       767 Concord Rd SE                         576 Hartnell St
Macon, GA 31204                           Smyrna, GA 30082                          Monterey, CA 93940
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MD Pain Care                              Medica Stand Up MRI of Atlanta
Attn: Roy L. Talley MD                    Attn: Thomas R. Cormier
5109 Highway 278 NE Ste C                 6590 Powers Ferry Rd
Covington, GA 30014                       Atlanta, GA 30339



                                                                                      Monitoring and Neuromonitoring
Michael S. Champney MD, F.A.C.S.          MMR Holdings Inc.
                                                                                      Associates Payment Letter
Attn: Michael S. Champney MD              Attn: John Platusic
                                                                                      Attn: Teresa L. Carter
2665 N Decatur Rd                         630 South Rancho Dr. Suite G
                                                                                      9811 West Charleston Suite 2-641
Decatur, GA 30033                         Las Vegas, NV 89106
                                                                                      Las Vegas, NV 89117


Neurological Associates of Nevada         Nick DeFillips MD                           Non-Surgical Orthopaedics P.C.
Attn: Managing Member                     Attn: Nick DeFillips MD                     Attn: Arnold J. Well MD
2831 Business Park Ct Ste B               990 Hammond Dr # 730                        335 Roselane St NW
Las Vegas, NV 89128                       Atlanta, GA 30328                           Marietta, GA 30060



North Atlanta Surgical Associates         North DeKalb Orthopedics PC                 North Fulton Anesthesia Inc.
Attn: Managing Member                     Attn: Sylvia Brumelow                       Attn: James G. Velimesis
5673 Peachtree Dunwoody Rd Ste 3          505 Irvin Ct Ste 200                        3000 Hospital Blvd
Atlanta, GA 30342                         Decatur, GA 30030                           Roswell, GA 30076



North Fulton Medical Center Inc.          North Houston Injury/Rehabilitation         Northern California Orthopedic Centers
Attn: Deborah C. Keel                     Attn: Managing Member                       Attn: Paul Susaura MD
3000 Hospital Blvd                        523 N Sam Houston Pkwy E                    6403 Coyle Ave Ste 170
Roswell, GA 30076                         Houston, TX 77060                           Carmichael, CA 95608



Northwest Neurology                       Open MRI of Macon                           Open MRI Of Savannah
Attn: Robert Bashuk MD                    Attn: Lisa Waldrop                          Attn: Toni S. Cowan
4460 Austell Rd                           1504 Hardeman Ave Ste B                     4815 Waters Ave
Austell, GA 30106                         Macon, GA 31201                             Savannah, GA 31404



Ortho Now PLLC                            Orthopaedic Solutions                       Orthopedic Foot and Ankle Institute
Attn: Bret Sokoloff, MD                   Attn: Dr. Antenor Velazco, MD               Attn: Roman Sibel, MD
4901 Raleigh Common Dr. Suite 200         670 S. 8th Street                           3175 Saint Rose Pkwy Ste 320
Memphis, TN 38128                         Griffin, GA 30224                           Henderson, NV 89052



Outpatient Imaging                        Pain Care Center of Georgia                 Pain Consultants of Atlanta
Attn: John F Howard MD                    Attn: Crystal Marcum                        Attn: Ashley Bernal
3280 Howell Mill Rd NW Ste 345            1365 Rock Quarry Rd Ste 202                 1800 Peachtree St NW Ste 750
Atlanta, GA 30327                         Stockbridge, GA 30281                       Atlanta, GA 30309



Pain Institute of Georgia                 Pain Management Specialists of Atlanta PC   Parkaire Consultants
Attn: Carlos J. Giron                     Attn: Randall Berinhout                     Attn: Randall Sheffield
3356 Vineville Ave                        440 Prime Point                             4939 Lower Roswell Rd Ste 201C
Macon, GA 31204                           Peachtree, GA 30269                         Marietta, GA 30068



Peachtree Neurosurgery                    Peachtree Orthopaedic Center P.A.           Perimeter Orthopaedics PC
Attn: Joy Taylor                          Attn: Managing Member                       Attn: Katheryn Keller
1938 Peachtree Rd NW                      2001 Peachtree Rd NE Suite 700              5673 Peachtree Dunwoody Rd Ste 825
Atlanta, GA 30309                         Atlanta, GA 30309                            Atlanta, GA 30342
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Perimeter Outpatient Surgical Associates   Perimeter Surgical Center                     Philip C. Colosimo Ph.D
Attn: Katheryn Keller                      Attn: Cindy Smith                             Attn: Philip C. Colosimo Ph.D
5667 Peachtree Dunwoody Rd                 6105 Peachtree Dunwoody Rd Ste 110            501 S Rancho Dr. Suite C-14
Atlanta, GA 30342                          Atlanta, GA 30328                             Las Vegas, NV 89106



                                           Pinnacle Orthopaedics Sports Medicine         Pinnacle Orthopaedics Surgery Center-
Phenix City Spine and Topple Diagnostics
                                           Speacialists, LLC                             Woodstock, LLC
Attn: Brent Jones
                                           Attn: Donna L. Fisher                         Attn: Donna L. Fisher
10800 Alpharetta Hwy #208-541
                                           720 Transit Ave Ste 202                       1505 Stone Bridge Pkwy Ste 200
Roswell, GA 30076
                                           Canton, GA 30114                              Woodstock, GA 30189


Plastikos Plastic and Recinstructive       Polaris Center for Outpatient Spine Surgery   Polaris Spine & Neurosurgery Center P.C.
Surgery & Millennium Healthcare            Attn: Joy Taylor                              Attn: Joy Taylor
Attn: Susan Kolb MD                        1150 Hammond Drive Suite 400                  1150 Hammond Drive Suite 400
4370 Georgetown Sq                         Atlanta, GA 30328                             Atlanta, GA 30328
Atlanta, GA 30338


Preva Advanced Surgicare-
                                           Pro Performance P.T.                          Process Servers Inc.
The Woodlands LLC
                                           Attn: Amanda Stillings                        Attn: Martin Druckman
Attn: Hugh P. Shannonhouse
                                           4343 Shallowford Rd Ste G-3 & 4               1736 East Charleston Unit 333
26710 I-45 N Ste B-100
                                           Marietta, GA 30062                            Las Vegas, NV 89104
The Woodlands, TX 77386

Psychological Diagnostic Center LLC
                                           Pulse Imaging                                 Regenerative Orthopaedics and Spine
Attn: Willa L. Boston PH. D
                                           Attn: Managing Member                         Institute PC
1820 Powers Ferry Rd. SE Building 22
                                           202 N Texas Ave Ste 500                       Attn: Phillip G. Ploska MD
Suite 200
                                           Webster, TX 77598                             203 Medical Blvd.
Atlanta, GA 30339
                                                                                         Stockbridge, GA 30281


Rehabilitation That Works                  Restoration Counseling Services LLC
Attn: Bob Bedford                          Attn: Faith Abraham
801 S Rancho Dr Ste F4á                    1010 Huntcliff
Las Vegas,áNVá89106                        Sandy Springs, GA 30350


                                           Rock Bridge Institute                         Roy M. Rubin MD
Robert and Patty Sandler
                                           Attn: Managing Member                         Attn: Roy M. Rubin MD
3655 Decatur Blvd. Suite 14173
                                           2500 Hospital Blvd                            3455 American River Drive áSte.áBá
Las Vegas, NV 89103
                                           Roswell, GA 30076                             Sacramento, CA 95864



Sacramento Pain Clinic                     Safeway Driver Fitness Centers Inc.           Safeway Psychological Services
Attn: Dr. Michael Levin, MD                Attn: Jeff Borchardt                          Attn: Jeff Borchardt
777 Campus Commons Rd                      16230 W Mayflower Dr                          16230 W Mayflower Dr
Sacramento, CA 95825                       New Berlin, Wisconsin, 53151                  New Berlin, Wisconsin, 53151



Saint Francis Memorial Hospital            San Ramon Surgery Center                      Santa Barbara Cottage Hospital
Attn: Alan E. Fox                          Attn: Medina Henry                            Attn: Gregory Friedrich
900 Hyde St                                100 Park Pl Ste 110                           400 W Pueblo St
San Francisco, CA 94109                    San Ramon, CA 94583                           Santa Barbara, CA 93105



Scott Barbour MD                           Seven Hills Surgery Center                    Collections Consultants Nevada
Attn: Scott Barbour MD                     Attn: Jeanne Elam                             Attn: Bonnie Barnett
3240 NE Expy NE Ste 200                    876 Seven Hills Dr                            5440 W. Sahara Ave Suite 300
 Atlanta, GA 30341                         Henderson, NV 89052                           Las Vegas, NV 89146
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South Atlanta MUA Center LLC             South Placer Surgery Center             Southeast Open MRI
Attn: Stephen B. Cooper                  Attn: Brian Hunt                        Attn: Toni S. Cowan
541 Forest Parkway Suite 14              8723 Sierra College Blvd                1103 Fountain Lake Dr
Forest Park, GA 30297                    Roseville, CA 95661                     Brunswick, GA 31525



Southern Cross Surgery Center            Specialty Orthopaedics                  Specialty Surgery Center of Pecos
Attn: R.L. Talley Jr. MD                 Attn: Kevin Jarrard                     Attn: Craig N. Foreman
1301 Sigman Rd NE                        1240 Jesse Jewell Pkwy SE # 300.        1569 E. Flamingo Rd
Conyers, GA 30012                         Gainesville, GA, 30501                 Las Vegas, NV 89119




Spine Center Medical Group               SpinePlus Healthcare                    Sports Concussion Institute
Attn: Jodie Faier                        Attn: Raymond Torres                    Attn: Jay H. Paik
455 Hickey Blvd Ste 310                  2918 San Jacinto St Suite 150           3200 Downwood Cir NW
Daly City, CA 94015                      Houston, TX 77004                       Atlanta, GA 30327



St. George Surgical Center               Starpoint Health Inc.                   Stat Diagnostics Cuevas Diagnostics LLC
Attn: Terrill Dick                       Attn: EricáD Friedlander                Attn: Cesar Cuevas
676 S Bluff St                           20360 SW Birch St Ste 110               4710 Katy Freeway
Saint George, UT 84770                   Newport Beach, CA 92660                 Houston, TX 77007


                                         Stellar Ambulartory Anesthesia
Statesboro Neurosurgery                                                          Stone Creek Surgery Center
                                         Consultants LLC
Attn: Dr.áDonald Graham                                                          Attn: Jeanne Elam
                                         Attn: Timothy Griner
1211 Merchant Way Ste 411                                                        5915 S Rainbow Blvd
                                         1150 Hammond Drive Suite 600
Statesboro, GA 30458                                                             Las Vegas, NV 89118
                                         Atlanta, GA 30328


Stonecreek Capital Advisors              Streeterville Open MRI LLC              Stutz Artiano & Holtz
Attn: Robert Spertell                    Attn: Edwin Sage                        Attn: Ljubisa Kostic
19710 Skyline Blvd                       446 E Ontario St Ste 106                1120 N Town Center Dr
Los Gatos, CA 95033                       Chicago, IL 60611                      Las Vegas, NV 89144



Supriti Baylan DDS                       Surgery Center of Athens LLC            Surgery Center of Southern Nevada
Attn: Supriti Baylan DDS                 Attn: Brandon O'Dell                    Attn: Managing Member
2145 Roswell Rd Ste 120                  2142 W Broad St Ste 100                 4275 Burnham Ave
Marietta, GA 30062                       Athens, GA 30606                        Las Vegas, NV 89119



Surgery Excellence Management LLC        Surgical Imaging Services Inc.          Sutton Orthopaedics & Sports Medicine
Attn: Lori Ramirez                       Attn: Josephine Shameria                Attn: Michael A. Birke MD
2100 West Loop South Suite 1200          782 Dynasty Dr                          145 Medical Blvd
Houston, TX 77027                        Fairfield, CA 94534                     Stockbridge, GA 30281



                                         The Hand & Upper Extremity Center       The Injury Specialist LLC
Swaroop N. Nyshadham MD
                                         of Georgia PC                           Attn: Michael Wax
Attn: Swaroop N. Nyshadham MD
                                         Attn: Jeffrey Klugman                   5464 Peachtree Blvd
1990 Lukken Industrial Dr W
                                         980 Johnson Ferry Rd Ste 1000           Chamblee, GA 30341
Lagrange, GA 30240
                                         Atlanta, GA 30342


The Pain Clinic
                                         The Pain Relief Center of Georgia       The Physicians Atlanta Surgery Center
Attn: Roper Dollarhide
                                         Attn: Idi Allen MD                      Attn: Sharryn Seffozo
5445 W Sahara Ave
                                         101 Yorktown Dr Ste 211                 5730 Glenridge Dr Ste 110
 Las Vegas, NV 89146
                                         Fayetteville, GA 30214                  Atlanta, GA 30328
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The Physicians Lab Services                                                           The Physicians Rome Surgery Center
                                          The Physicians North Atlanta Surgery Cntr
Attn: Sharryn Seffozo                                                                 Attn: Sharryn Seffozo
                                          Attn: Sharryn Seffozo
5730 Glenridge Dr Ste 110                                                             5730 Glenridge Dr Ste 110
                                          5730 Glenridge Dr Ste 110
Atlanta, GA 30328                                                                     Atlanta, GA 30328
                                          Atlanta, GA 30328



The Woodlands Specialty Hospital          Tobin Bone and Joint Surgery Inc.           Tushar M. Goradia MD PhD
Attn: Antonio Canales                     Attn: Joseph Tobin                          Attn: Tushar M. Goradia MD PhD
25440 I-45 N                              12 Lafayette Place Suite A                  6555 Coyle Ave
The Woodlands, TX 77386                   Hilton Head Island, SC 29926                Carmichael, CA 95608


Tyrone Synergy Rehabilitation             Ultimate Physical Therapy LLC               University Medical Center
Attn: Branton R. Queen PT                 Attn: Sayeeda Kurlawala                     Attn: Lacy L. Thomas
100 Millbrook Village Dr                  10929 Katy Fwy Ste B                        1800 W Charleston Blvd
Tyrone, GA 30290                          Houston, Texas 77079                         Las Vegas, NV 89102



Valley Anesthesiology                     Valley Health System                        Viking Pain Management
Attn: Garland Cowen                       Attn: Managing Member                       Anthony Rotando
10120 South Eastern Suite 200             2075 E Flamingo Rd                          1229 Creek Way Dr Ste 104
Henderson, NV 89052                       Las Vegas, NV 89119                         Sugarland , TX 77478



Werner Institute of Balance & Dizziness   White Oak Surgery Center                    Wilcorp LLC
Attn: Managing Member                     Attn: Jay Rice                              Attn: Robin Wilson
9080 W Cheyenne Ave                       1665 Highway 34 E Ste 200                   11204 S. 75th E. Ave
Las Vegas, NV 89129                        Newnan, GA 30265                           Bixby, OK 74008



William A. Segal MD
                                          XL2XS LLC                                   Yarbro Ltd. dba Lake Mead Radiologists
Attn: William A. Segal MD
                                          Attn: Saira McKinley                        Attn: Donald Den Yarbro Jr. MD
3800 Pleasant Hill Rd Ste 3
                                          5413 Rose Thicket Stá                       2559 Wigwam Pkwy
 Duluth, GA 30096
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